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                                  UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF KENTUCKY
                                         LONDON DIVISION
                                 CIVIL ACTION NO. 6:17-cv-00035-KKC
                                          Filed Electronically

      In re: 161 Shields Lane, London, Kentucky 40744

      UNITED STATES OF AMERICA                                                     PLAINTIFF

      VS.                                          ORDER

      JOHN R. BAILEY, ET AL                                                        DEFENDANTS

             This matter having come before the Court upon the Plaintiff’s Motion for Disbursement of

      Sale Proceeds from the sale of the real property which is the subject of this mortgage foreclosure

      action, and the Court having considered the Motion and being otherwise sufficiently advised, and

      it appearing that the Plaintiff, the United States of America, is entitled to receive all of the sale

      proceeds, for cause shown it is

             ORDERED, ADJUDGED and DECREED herein as follows:

             1. The Plaintiff’s motion is hereby GRANTED.

             2. The United States Marshal for the Eastern District of Kentucky, or its authorized

                  designee, is hereby ordered to disburse the sum of $15,411.00, now in the Marshal’s

                  hands, to the United States of America, acting for and on behalf of its Department of

                  Agriculture, Rural Development, representing the proceeds of the foreclosure sale held

                  in satisfaction of the Judgment in favor of the Plaintiff entered by the Court on

                  December 1, 2017.




August 13, 2018
